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-      During November and December 2018, the defendant took multiple photographs of videos
apparent cocaine, crack cocaine, and drug paraphernalia. ECF 68 at p. 9.




                         iTunes Backup (iPhone 11) - Production 1




                         iTunes Backup (iPhone 11) - Production 1
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                       Apple iCloud Backup 04 - Production 1
